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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 MEREDITH D. DAWSON,

                               Plaintiff,
         v.
                                                                             ORDER
 GREAT LAKES EDUCATIONAL LOAN SERVICES,
 INC., GREAT LAKES HIGHER EDUCATION                                      15-cv-475-jdp
 CORPORATION, JILL LEITL, DAVID LENTZ, and
 MICHAEL WALKER,

                               Defendants.


       Plaintiff Meredith Dawson has filed a revised version of her proposed class notice, as

permitted by the court. Dkt. 180. The court will approve the notice, with two related

exceptions.

       First, the previous version of the notice includes the following two sentences: “The

Court has not decided whether Great Lakes did anything wrong. There is no money available

now, and no guarantee that there will be.” Dkt. 174-1, at 2. Dawson wants to replace the

second sentence with the following:

               However, Great Lakes has declared to the Court that Great Lakes
               is providing money and loan balance reductions (or “account
               credits”) to borrowers whose loan balances may have been
               wrongly increased. As of today, the Court has not confirmed the
               truth or accuracy of Great Lakes’ statements, or whether any
               compensation being provided has been properly calculated.

Dkt. 180-1, at 1. But Dawson doesn’t explain the purpose of the new language and it is not

clear how it will assist potential class members in deciding whether to join the class. If anything,

the language is confusing because it suggests that individual must join the class if he or she
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wishes to obtain the benefits that Great Lakes is allegedly offering. So Dawson should keep the

original language.

       Second, Dawson includes similar language under the heading “Is there any money

available now?” Id. at 6–7. Again, Dawson should use the original language.

       The court has reviewed the rest of the proposed notice and has no other objections.



                                           ORDER

       IT IS ORDERED that plaintiff Meredith Dawson’s proposed class notice, Dkt. 180, is

APPROVED with the exceptions noted above. Dawson may have until November 1, 2018, to

disseminate the notice to the class or show cause why she is unable to do so.

       Entered October 18, 2018.

                                           BY THE COURT:

                                           /s/
                                           ________________________________________
                                           JAMES D. PETERSON
                                           District Judge




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